Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 1 of 36 PageID #:6
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 2 of 36 PageID #:7
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 3 of 36 PageID #:8
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 4 of 36 PageID #:9
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 5 of 36 PageID #:10
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 6 of 36 PageID #:11
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 7 of 36 PageID #:12
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 8 of 36 PageID #:13
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 9 of 36 PageID #:14
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 10 of 36 PageID #:15
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 11 of 36 PageID #:16
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 12 of 36 PageID #:17
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 13 of 36 PageID #:18
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 14 of 36 PageID #:19
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 15 of 36 PageID #:20
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 16 of 36 PageID #:21
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 17 of 36 PageID #:22
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 18 of 36 PageID #:23
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 19 of 36 PageID #:24
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 20 of 36 PageID #:25
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 21 of 36 PageID #:26
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 22 of 36 PageID #:27
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 23 of 36 PageID #:28
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 24 of 36 PageID #:29
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 25 of 36 PageID #:30
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 26 of 36 PageID #:31
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 27 of 36 PageID #:32
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 28 of 36 PageID #:33
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 29 of 36 PageID #:34
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 30 of 36 PageID #:35
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 31 of 36 PageID #:36
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 32 of 36 PageID #:37
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 33 of 36 PageID #:38
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 34 of 36 PageID #:39
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 35 of 36 PageID #:40
Case: 1:21-cv-06803 Document #: 1-1 Filed: 11/24/21 Page 36 of 36 PageID #:41
